Case 2:25-cv-03526-LGD Document7 Filed 06/26/25 Page1of1PagelD#: 31

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of New York

FLOWER HILL COINS & COLLECTIBLES, INC.,

Plaintiff(s)

BUNKER HILL SALES ASSOCIATES, INC.

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Vv Civil Action No. 25-cv-03526-LGD
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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) BUNKER HILL SALES ASSOCIATES, INC.
4 Colonial Rd.
Dover, MA 02030.

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Pollock & Associates Law, PLLC

Attorney for Plaintiffs
115 East Stevens Ave., Suite 109
Valhalla, NY 10595

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

Date; _6/26/2025 Sanhe Felpuscuae

yen Signature of Clerk or Deputy Clerk

